 

IN THE DlSTRlCT COUR'I` OP` OKLAHOMA C()UNTY ,
STATE ()F OKLAHQMA FILED iT\`-' I>ISTRICT C.OURT

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CASADY "N" COMPANY, L.L.C., an Oklahoma
limited liability eompany; ROBERT A.

HAIGES; TRITON INVESTMENT, L.L.C.,

an Oklahoma limited liability company

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AMERICA FIRST INSURANCE; WEST )
AMERlCA lNSURANCE COMPANY; )
and LiBERTY MU'I`UAL INSURANCE )
COMPANY, j
)
Defendants. )
PETITION
COMB NOW the Plaintiffs, Casady "N" Company, L.L.C., an Oklahoma limited liability
company, Robert A. Haiges, and Triton lnvestment, L.L.C., an Oklahoma limited liability company
(hereinaf’ter referred to as "Casady"), and for its claims against America First lnsuranee, West
America Insurance Company, and Liberty Mutual Group lnsurance Company (hereinafter referred
to as "Insuranee Cornpany"), state as follows, to-»Wit:

l. Plaintiffs Casady "N" Company, L.L.C. and Trinton Investrnent, L.L.C¢, are limited
liability companies organized and existing under the laws of the State of Oklahoma,
with its principal place of business in Oklahoma County, Oklahorna. Flaintiff
Robert A. Haiges is an individual named as an additional insured

2. Defendants are foreign insurance companies organized and existing under the laws

of states other than Okiahoma, with their principal places of business outside the

State of Oklahorna.
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The events which gave rise to this action took place in Oklahoma County, Ol<lahoma.
This Court has proper jurisdiction and venue of this matter.

At all times relevant to this action, Plaintit`fs were the named insureds under a policy
of insurance issued by Defendant lnsurance Company bearing policy number
BKW52634430.

The policy in question covered damages to Plaintiffs' business property, including
hail damagel

On May 29, 2012, a haiistorrn went through the City of Oklahoma City causing
severe property damage to the roof ot` Plaintiffs' property located at 2921 N.
Oklahoma Avenue in Oklahorna City, Oklahoma.

Plaintiffs immediately placed Defendant lnsurance Company on notice of a claim to
be compensated pursuant to the insurance policy.

Defendant Insurance Cornpany has failed to pay the total amount of damages
properly due to Piaintit`fs pursuant to the terms and conditions of the insurance
policy.

Defendant Insurance Company has breached the insurance contract between the
parties and is indebted to Plaintit`fs for damages to the roof that should have been
totaled as a result of the hail damage covered by the policy in question

Defendant insurance Company, instead of paying the total amount of damages to
Plaintiffs, which amount was estimated by one of Defendant Insurance Company's
adjusters at 3149,500.00, only paid Plaintif`fs $50,76l .44 on Deccmber 20, ?.Ol?_ and
has refused to make any further payment to Plaintiffs.

Dei`endant lnsurance Company has failed to properly evaluate, investigate and pay

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Plaintiffs’ claim.

12. Defendant lnsurance Company's actions in failing to properly investigate and
evaluate Plaintiffs' claim and in failing to properly pay Plaintiffs for damages
pursuant to the insurance policy constitutes a breach ofthe covenant of good faith
and fair dealing

13. Defendant Insurance Company‘s actions were taken in reckless disregard of their duty
to deal fairly and act in good faith with Plaintiffs, or were taken intentionally and with ma}ice toward
Plaintiffs, and warrant the imposition of punitive damages pursuant to 23 O.S. §9.1.

14. As a result of Defendant insurance C.ompany‘s breach of contract and bad faith,
Plaintiffs are entitled to damages in excess of $75,000.00 for breach of contract and in excess of
$75,00{}-00 for punitive damages against the Defendant insurance Company: plus all equitable relief
as the Cour't deems proper.

Respectfully submitted,

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